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 8                                    UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

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11   EDUARDO GONZALEZ, ANTHONY                          Case No. 03-2817 SI
     OCAMPO, ENCARNACION
12   GUTIERREZ, JOHAN MONTOYA,                          STIPULATION AND [PROPOSED]
     JUANCARLOS GOMEZ-MONTEJANO,                        ORDER SETTING STATUS
13   JENNIFER LU, AUSTIN CHU, IVY                       CONFERENCE RE: SETTLEMENT
     NGUYEN, ANGELINE WU, ERIC
14   FIGHT, CARLA GRUBB, DAVID
     CULPEPPER, PATRICE DOUGLASS,
15   and ROBAIR SHERROD, on behalf of
     themselves and all others similarly situated,
16
                        Plaintiffs,
17
     v.
18
     ABERCROMBIE & FITCH STORES,
19   INC., A&F CALIFORNIA, LLC, and A&F
     OHIO, INC.,
20
                        Defendants.
21
                    WHEREAS, the Court granted final approval to the settlement of this action on
22
     April 14, 2005;
23
                    WHEREAS, the settlement included a Consent Decree, through which the Court
24
     continues to exercise jurisdiction over aspects of the issues raised during the litigation;
25
                    WHEREAS, the Consent Decree requires the parties and the Monitor to appear
26
     before the Court for an annual status conference in or around mid-August during the course of the
27
     Consent Decree’s operation;
28
                                                                 STIPULATION AND [PROPOSED] ORDER SETTING
     547565.1                                                           STATUS CONFERENCE RE: SETTLEMENT
                                                                                        CASE NO. 03-2817 SI
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 1                 WHEREAS, the parties, pursuant to the Consent Decree, intend to advise the
 2   Court of their progress in implementing the terms of the Consent Decree reached pursuant to
 3   Court-approved settlement;
 4                 The parties, by and through their counsel of record, stipulate and agree as follows:
 5                 1.      The status conference to discuss settlement is scheduled for August 22,
 6   2006 at 3:00 p.m.
 7                 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 8   Respectfully submitted,
 9   Julie Su                                         Thomas A. Saenz
     Minah Park                                       Shaheena Ahmad Simons
10   ASIAN PACIFIC AMERICAN LEGAL                     MEXICAN AMERICAN LEGAL DEFENSE
         CENTER                                          AND EDUCATIONAL FUND
11   1145 Wilshire Boulevard, 2nd Floor               634 South Spring Street
     Los Angeles, CA 90017                            Los Angeles, CA 90014
12   Telephone: (213) 977-7500                        Telephone: (213) 629-2512
     Facsimile: (213) 977-7595                        Facsimile: (213) 629-0266
13
     Kimberly West-Faulcon                            Bill Lann Lee
14   NAACP LEGAL DEFENSE AND                          Kelly M. Dermody
        EDUCATIONAL FUND, INC.                        Eve H. Cervantez
15   1055 Wilshire Blvd., Suite 1480                  Elizabeth A. Alexander
     Los Angeles, CA 90017                            Jahan C. Sagafi
16   Telephone: (213) 975-0211                        LIEFF, CABRASER, HEIMANN
     Facsimile: (213) 202-5773                            & BERNSTEIN, LLP
17                                                    275 Battery Street, 30th Floor
                                                      San Francisco, CA 94111-3339
18                                                    Telephone: (415) 956-1000
                                                      Facsimile: (415) 956-1008
19
     Sidney L. Gold                                   Bryan L. Clobes
20   Traci M. Greenberg                               Melody Forrester
     SIDNEY L. GOLD & ASSOCIATES, P.C.                Jeffrey D. Lerner
21   1835 Market Street, Suite 515                    MILLER FAUCHER AND CAFFERTY
     Philadelphia, PA 19103                           One Logan Square, Suite 1700
22   Telephone: (215) 569-1999                        Philadelphia, PA 19103
                                                      Telephone: (215) 864-2800
23

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 1   Cleo Fields                                  Joseph C. Kohn
     RAINBOW/PUSH COALITION                       Martin J. D’Urso
 2   930 East 50th Street                         Diana Liberto
     Chicago, IL 60615                            Hilary Cohen
 3   Telephone: (773) 373-3366                    KOHN, SWIFT & GRAF, P.C.
                                                  One South Broad Street, Suite 2100
 4                                                Philadelphia, PA 19107
                                                  Telephone: (215) 238-1700
 5   James F. Keller
     Zachary Gottesman
 6   GOTTESMAN & ASSOCIATES
     2121 URS Center
 7   36 East 7th Street
     Cincinnati, OH 45202
 8   (513) 651-2121
                                        Dated: June 30, 2006
 9
                                  By:     /s/ Jahan C. Sagafi
10                                        Jahan C. Sagafi
11                                   Attorneys for Plaintiffs
12   Thomas B. Ridgley                            Douglas R. Young
     Sandra J. Anderson                           Douglas E. Dexter
13   Mark A. Knueve                               Sandra A. Kearney
     VORYS, SATER, SEYMOUR & PEASE,               FARELLA BRAUN & MARTEL, LLP
14   LLP                                          Russ Building, 30th floor
     52 East Gay Street, P.O. Box 1008            235 Montgomery Street
15   Columbus, OH 43216-1008                      San Francisco, CA 94104
                                                  Telephone: (415) 954-4400
16                                                Facsimile: (415) 954-4480
17
                                        Dated: June 30, 2006
18
                                  By:     /s/ Mark A. Knueve
19                                        Mark A.Knueve
20                                  Attorneys for Defendants
21

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                                                          STIPULATION AND [PROPOSED] ORDER SETTING
     547565.1                                  -3-              STATUS CONFERENCE RE : SETTLEMENT
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated:
 3                                                Hon. Susan Illston
                                                  United States District Judge
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                                                                             CASE NO. 03-2817 SI
